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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )     Criminal No. 3:20-07
                                               )
JOHN CHRISTOPHER BISBEE, et al                 )


                                    PROTECTIVE ORDER

       To expedite the flow of discovery material between the parties, facilitate the prompt

resolution of disputes over confidentiality and sensitivity, adequately protect individually

identifiable person identity information entitled to be kept confidential, and to adequately protect

the individuals’ privacy interests in sensitive materials, pursuant to the Court’s authority under

Fed. R. Crim. P. 16(d), it is hereby ORDERED:

       1.      Limited Use of Discovery Pertaining to Defendants Release on Bond:               The

defendant, including defendant’s counsel and their personnel, may use these documents only for

the limited purposes of the criminal case and may not be used for any other purpose. Materials

shall be retained by counsel and no copies may be left with the defendant. The materials shall not

be disseminated and/or provided, whether in original or duplicate form, without further order of

this court. No person shall disclose the substance of these materials to anyone without the express

permission of the Court or as provided herein. Other than the defendant and his counsel, the

materials may be shown to and discussed only with the persons described as follows:               a)

independent experts retained by the defendant in connection with the Criminal Case; and, b)

potential witnesses in the Criminal Case. Under no circumstances shall the discovery be used for

any purpose other than in the Criminal Case absent an order from this Court.
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       2.      Limited Use of Discovery Pertaining to Incarcerated Defendants: The United

States is authorized to provide the Rule 16 materials to the computer service personnel at the

relevant institutions and/or the Computer Systems Administrator at the Federal Public Defender’s

Office to facilitate the secure access to these sensitive materials by the incarcerated defendants.

Incarcerated defendants are only permitted access to the Rule 16 materials in accordance with the

internal security policies regarding use of computers and electronic evidence at the institution

where they are being housed. Incarcerated defendants are not permitted to maintain the Rule 16

materials in this case in their living quarters at the institution where they are being housed. This

Order is intended to apply to all prisons/jails/correctional institutions where any of the incarcerated

defendants may be housed while in United States Marshals Service Custody in pre-trial detention.

       3.      Discovery Materials in Open Court: No party shall file discovery materials with or

submit them to the Court or reproduce their contents in any court filing unless the document or

filing is placed under seal. The procedures for use of discovery during any hearing or the trial of

this matter shall be determined by the parties and the Court in advance of the hearing or trial. The

parties shall consider measures such as redacting confidential documents to remove individual

identifiers, request the court to submit such documents under seal, code the documents to substitute

a numerical or other designation for the person’s name or other identifying information, and/or

request that any exhibit be placed under seal. No party shall disclose discovery materials in open

court without prior consideration by the Court.

       4.      Filing of documents: The Clerk shall accept for filing under seal any documents or

filings so marked by the parties pursuant to the above paragraphs.

       5.      Post-Case Disposition: Within 90 days of the final conclusion of this litigation, the

defendant shall return the discovery to counsel for the United States, or shall destroy them and
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certify in writing to counsel for the United States that the documents have been destroyed. If any

discovery materials were used as defense exhibits, defense counsel shall identify these documents,

which shall be maintained with government exhibits so long as those are required to be maintained.

       6.       Modification Permitted. Nothing in this Order shall prevent any party from seeking

modification of this Protective Order or from objecting to discovery that it believes to be otherwise

improper.

       7.       No Ruling on Discoverability or Admissibility. This Protective Order does not

constitute a ruling on the question of whether any particular material is properly discoverable or

admissible and does not constitute any ruling on any potential objection to the discoverability of

any material.



IT IS SO ORDERED.


________________________________
HONORABLE KIM R. GIBSON
United States District Judge


__________________
Date
